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Wa Outlook

RE: Dias v. Dias — Petitioner Document Production (Case No. 3:24-CV-04471-EMC)

From Hesse, Danielle <DHesse@gibsondunn.com>
Date Tue 10/1/2024 6:01 PM

To Richard Min <rmin@gkmrlaw.com>; Waddick, Nicole <NWaddick@gibsondunn.com>; kelly@drsfamilylaw.com
<kelly@drsfamilylaw.com>; maria@drsfamilylaw.com <maria@drsfamilylaw.com>

Cc *** Diasrespondent <Diasrespondent@gibsondunn.com>; Camilla Redmond <credmond@gkmrlaw.com>

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the sender and know the content is safe.

Thank you for confirming, Richard. We are concerned by the spoliation that has occurred here. Of
course, with respect to the messages sent once litigation was filed, and indeed, once the children were
in the United States, we believe Petitioner had an-obligation to preserve those messages. We also
believe it is possible that, after his duty to preserve evidence arose, Petitioner went back to messages
sent earlier in time and deleted messages. In order to assess the scope of the spoliation and the
prejudice to Respondent, please have your client provide a declaration with the following information:

1. The date that Mr. Dias first anticipated litigation of any kind (including in Armenia) relating to Mrs.
Dias
2. The date that Mr. Dias first contacted his counsel in Armenia (we are not seeking any attorney-
client privileged information about his communications—only the date of first contact)
3. The date that Mr. Dias first anticipated filing a Hague Petition
4. The date that Mr. Dias first contacted counsel for the Hague Petition (we are not seeking any
attorney-client privileged information about his communications—only the date of first contact)
5. For each message that Mr. Dias deleted between himself and Respondent:
1. The date (or approximate date) the message was deleted;
2. The reason why Mr. Dias deleted the message;
3. Adescription of efforts to recover the message, including the status of those efforts;
4. If the message has been recovered, please provide the substance of that message ASAP.

We understand that there were also messages deleted between Mr. Dias and other members of
Respondent's family. As we understand that we are already seeking a lot of information, we will not
request information regarding those messages at this time; however, should any of those messages be
recovered, we expect that they will be produced immediately.

Due to the streamlined nature of discovery in this case, please provide this information by 5 PM PT
Friday; if your client will need more time to collect this information, please let us know as soon as you
can and provide us an estimate of when we can expect this information. If we do not receive this
information, or if the information provided does not adequately address our concerns about the prejudice
to Respondent, we will plan to file a motion seeking an adverse inference regarding all deleted
messages sent to Petitioner.

Additionally, we understand that Petitioner has represented to the Court that he has a “fixed-term
contract in Armenia” that is “scheduled to last five (5) years, from December 2023 through 2028.” Dkt.
109 at 2. His “Letter of Fixed-Term Appointment,” dated November 20, 2023, states in paragraph 3 that
“This fixed-term appointment is for a limited duration from 22-NOV-2023 to 21-NOV-2024 (inclusive).
The probationary period does not apply to staff members appointed to WHO on interagency transfer
from PAHO whose appointments have already been confirmed under PAHO. This appointment,
irrespective of the length of service, gives no right to, and carries no expectation of, renewal or
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conversion to any other type of appointment with the WHO. It will come to an end automatically on the
agreed period of service unless an offer of extension is made and accepted. The expiration of the
appointment does not warrant the payment of any termination indemnity. This fixed-term appointment
may be terminated prior to its expiry date. Please refer to Article IX of the Staff Regulations and Section
10 of the Staff Rules regarding separation from the service of the Organization.” We have not received
any additional contracts or documents from Petitioner that support his contract lasting through 2028.
Please provide whatever documentation Petitioner is relying upon to support this contention.
Additionally, if there has been a change in Petitioner’s employment status, please let us know, as that is
highly relevant to a core issue of this case.

Best,
Danielle

Danielle Hesse
Associate Attorney

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GIBSON DUNN
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333 South Grand Avenue, Los Angeles, CA 90071-3197

From: Richard Min <rmin@gkmrlaw.com>

Sent: Monday, September 30, 2024 8:03 AM

To: Hesse, Danielle <DHesse@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>;
kelly@drsfamilylaw.com; maria@drsfamilylaw.com

Cc: *** Diasrespondent <Diasrespondent@gibsondunn.com>; Camilla Redmond <credmond@gkmrlaw.com>
Subject: RE: Dias v. Dias — Petitioner Document Production (Case No. 3:24-CV-04471-EMC)

Sorry, let me clarify. Some of the deleted messages pre-date the commencement of litigation. | did not
mean to suggest that they were deleted before or after.

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From: Hesse, Danielle <DHesse@gibsondunn.com>

Sent: Sunday, September 29, 2024 9:25 PM

To: Richard Min <rmin@gkmrlaw.com>; Waddick, Nicole <NWaddick@gibsondunn.com>;
kelly@drsfamilylaw.com; maria@drsfamilylaw.com

Ce: *** Diasrespondent <Diasrespondent@gibsondunn.com>; Camilla Redmond <credmond@gkmrlaw.com>
Subject: RE: Dias v. Dias — Petitioner Document Production (Case No. 3:24-CV-04471-EMC)

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recognize the sender and know the content is safe.

Counsel:

We understand you to be saying that some of the spoliation occurred before litigation began. Please let
us know which messages were deleted before vs. after litigation was anticipated, and how you know
when each message was deleted. We view this position as highly problematic given the timeline of this
case, including that many of the deleted messages were sent after Respondent left Armenia.

Additionally, thank you for flagging the issue with that document. Bates No. DIAS-RESP_0000059 is
privileged, and we are clawing it back. Please delete any and all versions of the document and please
confirm when you have done so. We will reproduce the document.

Thanks,
Danielle

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GIBSON DUNN
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From: Richard Min <rmin@gkmrlaw.com>

Sent: Sunday, September 29, 2024 1:19 PM

To: Waddick, Nicole <NWaddick@gibsondunn.com>; kelly@drsfamilylaw.com; maria@drsfamilylaw.com

Cc: *** Diasrespondent <Diasrespondent@gibsondunn.com>; Camilla Redmond <credmond@gkmrlaw.com>
Subject: RE: Dias v. Dias — Petitioner Document Production (Case No. 3:24-CV-04471-EMC)

Dear Counsel,

We are unaware of any obligation to provide translations of native language documents along with our
discovery responses. Of course, to the extent we intend to use any such document as an exhibit we will
provide certified translations of same.

With respect to the deleted text messages, our client is attempting to recover those messages but it
should be noted that many of the messages were deleted prior to any litigation. We of course would
contest any attempt to draw a negative inference from the deletion of messages which is not uncommon
using the WhatsApp function. However, if the retrieval attempts are successful, we will promptly share
the messages once they are made available to us.

Lastly, we appreciate you bringing the highlighted portions of one of the documents to our attention. It
has just now come to our attention that a document produced by Respondent had some comments that
we believe were left inadvertently (See DIAS-RESP-0000059). We will let you know if we come by any
other documents with similar comments.
